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8 UNITED STATES DISTRICT COURT
9 CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
10
v § 11 PED_E_GO LLC, a Delaware Limited CASE NO. SACV12-01106 CJC (JPRx)
§ m- Llablhty COmpany,
3 12
§ g Plaintiff, DEFENDANT PRODECO
§ <'> 13 TECHNOLOGIES’ OPPOSITION TO
§ § vs. PLAINTIFF’s MOTION FoR
§ , 14 PRELIMINARY INJUNCTION
<~ 3 ALLIANCE WHOLESALERS INC. _
§ 3 15 DBA PRODECO TECHNOLOGIES, Declaratlons 0f Rc_)bert Provost, Robert
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§ 3 16 Concurrently Herewlth]
§ § Defendant.
§ <‘1 17 Date: S§ptember 17, 2012
§ C_ourtroom: 9
18 Tlrne: 1:30 p.m.
19 Before Hon. Cormac J. Carney
20 Trial Date: None Set
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PRODECO TECHNOLOGIES’ OPPOSITION TO PLAINTIFF’S MOTION F0R PRELlMINARY INJUNCTION

 

 

 

 

Case 8:1

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PRODECO TECHNOLOGIES’ OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

 

 

 

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I. INTR()DUCTION

This Motion is nothing more than a transparent attempt by Plaintiff Pedego,
LLC to damage Defendant Prodeco Technologies ("PT"), a more successth and
profitable competitor in the electric bicycle business. The Motion is based on a
meritless underlying claim of purported "similarity" between two dissimilar marks,
as well as conclusory assertions of "harm," unsupported by admissible evidence of
any kind.

Pedego will not succeed on the merits in its underlying suit ~ as it does not
and cannot show that there is a likelihood of confusion between the companies' two
distinct names and logos. Pedego asserts that there is a likelihood of confusion
because the names both "begin with a P and end with O." In fact, as the names are
made up of different, distinguishable prefixes and suffixes and are visually and
aurally distinct as they appear in the marketplace, this minor similarity does not
create a likelihood of confusion. Nor is Pedego's de minimis "evidence" of actual
confusion sufficient, consisting as it does of Pedego's demonstrably inaccurate
conjecture

By this Motion, Pedego seeks an injunction to stop PT from using its name in
connection with electric bikes, including barring it from appearing and selling its
bikes at the September 19-21, 2012 Interbike Tradeshow, a large industry tradeshow
where bicycle shop owners and dealers place their yearly orders for bikes. What
Pedego fails to inform the Court is that it and PT had booths just a few aisles from
each other (and visible to each other) at the last Interbike tradeshow _ in September
2(_)11. Pedego has been aware of Prodeco Technologies' use of the Prodeco name on
electric bikes and has known that PT sells its wares at Interbike for over a year.
Pedego and PT even engaged in informal negotiations to get this matter settled
during the spring and summer of 201 l, before the last Interbike show. Yet, Pe_degg
chose to wait until a few Weeks before the Interbike 2012 show ( when PT has

already spent tens of thousands of dollars to participate and purchase a sponsorship

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at Interbike) to bring this motion on shortened time. Pedego glosses over this
lengthy delay, but the delay alone negates any assertion by Pedego that it will suffer
irreparable harm if the requested injunction is not granted

Moreover, the Court must look to the balance of the equities between the
parties in evaluating whether to issue an injunction. Pedego's Motion is entirely
bereft of any facts evidencing lost or declining sales or any reputational harm due to
the claimed confusion between the two companies' names.` Pedego claims - in the
vaguest generalities - that PT's appearance at Interbike will cause increased
confusion, but never sets forth any damage which it has suffered or anticipates that
it will suffer as a result of this "confiision."

On the other hand, being barred from Interbike would not be a minor nuisance
for PT, but rather would spell the demise of the company. Interbike is the only
show that PT participates in during the year and is the source of upwards of 70% of
its sales, to the tune of millions of dollars. PT has already paid deposits of almost
$300,000 to suppliers for orders that (without participation at lnterbike) it would
lack the cash flow to fulfill. The harm to its reputation from dropping out of the
major tradeshow of the year would also be substantial. PT would also be unable to
service its roughly $2.4 Million in debt should it not attend Interbike. And, of
course, being further barred _ for even a short period - from using the name more
generally would also spell the end of PT's business.

In sum, Pedego does not demonstrate w likelihood of confusion between the
parties' names and logos. Moreover, a more than one year delay in seeking this
injunction (as well as the timing of seeking it a few weeks before an important trade
show which Plaintiff knew that Defendant attends) severely undercuts any argument
that Plaintiff will be irreparably harmed. Defendant PT will be financially
devastated (and likely go out of business) should the requested injunction be issued.
The public interest is not served by destruction of legitimate competition, which is
what Pedego seeks here.

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PRODECO TECHNOLOGIES’ OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

 

 

 

 

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II. STATEMENT OF FACTS

A. Bac round

Electric bicycles are traditional bicycles that have a battery-operated motor
attached to them. Provost Decl. 11 2. This configuration allows the rider the choice
of pedaling or "coasting," the bicycle being propelled by the electric motor. Ia’.

Defendant PT was created in or about early 2010 as a d/b/a of Alliance
wholesalers, a bicycle parts company. Provost Decl. 11 4. PT manufactures
predominantly "mountain bike" style electric bikes (with aggressive designs and
narrow handlebars that are situated in a low-riding position) which it markets
primarily to a young, under-35 demographic. Id. at 11 10. The majority of the
company's bike designs are geared toward younger riders. All of PT's bicycles are
built in the United States from uniquely designed frames and battery systems. Id. at
11 8. The fact that PT bikes are built in U.S. is a major selling point for the bikes as
customers view American-built bikes as higher quality and more reliable. Ia’.

In contrast, Plaintiff Pedego primarily sells "beach cruiser" style bicycles
(which feature wide sloped handlebars, with a pedal forward crank design for a "sit
up" and "laid back" riding position), which are marketed to customers in their fifties
and beyond. Provost Decl. 11 12. Pedego bikes are manufactured in China and
Taiwan and imported into the United States. Ia’. at 11 11.

B. Prodeco Technologies Adopts Its Name in Good Faith

PT founder Robert Provost had previously been involved (in or about 2006)
with a bike company referred to as "Eco Tech." Provost Decl. 11 3. The name
"Prodeco Technologies" simply added the prefix "prod" to the name of Mr.
Provost's prior company, "Eco Tech." Ia’. at 11 4. The new "Prodeco" name was also
a combination of the last names of the company's founders- "mvost", "_l£l
Aguila" (for Daniel DeAguila) and “AQsta" (for Richard Acosta). ld. at 11 5. The
name is also a play on the term "deco" as in "art deco." Id. The company (which is
located in South Florida -the epicenter of the art deco design movement) creates

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PRODECO TECHNOLOGIES’ OPPOSITION TO PLAINTIFF’S MO'I`ION FOR PRELIMINARY INJUNCTION

 

 

 

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bike designs with elements of "art deco" design, including curved frames. Id.
Finally, PT’s founders chose "Prodeco" because it incorporated the suffix "eco"
(short for "ecological"). Id. at 11 6.

C. Trademark Application and Opposition From Pedegg

On or about February 24, 2011, PT applied for a trademark registration for
"Prodeco Technologies" with the United States Patent and Trademark foice.
Provost Decl. 11 14. On or about February 15, 2011 and again on or about March 15,
2011, Pedgeo contacted PT via letter, alleging infringement of the Pedego mark. Id.

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at 11 15. Pedego included a draft complaint for trademark infringement with its

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March 15, 2011 letter to Prodeco. Pedego went on to submit a letter of protest to the
U.S.P.T.O. on or about May 24, 2011. Id.

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On or about July 6, 2011, during the course of e-mail correspondence

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between PT CEO Provost and Steven Fine, examining attorney at the U.S.P.T.O,

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Mr. Fine stated that, with regard to the marks "Pedego" and "Prodeco

in my opinion, there is no likelihood of confusion." Provost Decl.

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Technologies,
11 16.

PT engaged in informal discussions with Don DiCostanZo (and even utilized a

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third party acquaintance named Leo Giglio to act as an intermediary and speak with

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Mr. DiCostanZo) throughout the spring and summer of 2011 regarding his claim that

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"Prodeco" infringed Pedego's mark. Provost Decl. 11 20. By July 2011, as an

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accommodation to try and resolve this case (and not because PT believes that there

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was any similarity or likelihood of confusion between the two names), PT agreed to

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add the word "Technologies" to its bikes, ads and website wherever the word

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¢Id

"Prodeco" appeared (so that the word "Prodeco" never appeared alone). Id. PT

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made that change to its bike frames, ads and websites at significant expense to try

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and get this issue resolved. Id.

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On or about December 12, 2011, PT abandoned its original trademark

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application after it determined that an error had been made in its supporting

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PRODECO TECHNOLOGIES’ OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

 

 

 

 

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documents ProvostDecl.11 17. The abandonment lasted less than 1 day. Id. at
11 18. PT filed a petition to revive its application to register "Prodeco Technologies"
on that same day _ December 12, 2011. Id.

Pedego filed an Opposition to the revived application on April 27, 2012 and
pursued its Opposition until the matter was requested stayed pending the outcome of
this lawsuit, which was filed by Pedego July 6, 2012. Provost Decl. 11 19. Pedego
did not make this Motion for a preliminary injunction until September 4, 2012, two
months after its trademark infringement lawsuit was filed.

D. The Importance of the Interbike _Trade Show and the Harm Which
Would Accrue to PT If It Were Barred from Attending or Using
the PT Name

The Interbike tradeshow is the maj or annual tradeshow in the bike industry.
Its purpose is for bike shop owners, dealers and mass merchant buyers to come
together to review all the new products available each year in the U.S. bike industry.
Provost Decl. 11 30. Exhibitors display their products for the coming year and take
orders for those products. Id. There is no other event of this type in the United
States. Ia’. PT attended Interbike in 2010 and 2011. Ia’. at 11 31. At the show in
2010, PT had a prominent 4 booth display. Id. At the 2011 show, PT had a booth a
few aisles from (and visible to) Pedego's booth. Mr. DiCostanzo of Pedego came
over to the PT booth at the 2011 show and took photographs of PT’s booth and of
PT bikes. Ia’.

Last year the majority of PT's dealer sales (including sales from large dealers
such as Amazon and Costco) were generated from Interbike. Provost Decl. 11 32.
PT anticipates that over 70% of its sales will be generated from Interbike 2012. Id.
In addition, PT is sponsoring the "demo track" at Interbike. Id. at 11 33. The demo
track is a riding track for all electric bike companies to allow potential bike shop
owners to test and ride the different electric bikes being offered. Id. Prodeco
Technologies will also appear at an electric bike industry panel discussion. Ia’. In

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PRODECO TECHNOLOGIES’ OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

 

 

 

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addition, multiple meetings at Interbike have been set up with PT's dealers, both

large and small. Id. These meetings will generate thousands of sales for PT. Ia'.

With Interbike just days away, there is no way that PT could appear at
Interbike if it could not use its name, "Prodeco Technologies," on its bikes and
advertisingl Provost Decl. jj 36.

As discussed in detail at Section C.2, supra, PT has already spent, or will
spend, over $90,000 on direct expenses relating to the Interbike show, including
travel and advertising costs. Provost Decl. jj 34. PT has increased its employee
base to 48 employees from 35 employees 4 months ago in anticipation of the influx
of orders from attending Interbike 2012. Id. at jj 35. For 2013, PT anticipates the
hiring of an additional 26 employees to bring the total to 74 company employees all
U.S. based. Ia’.

If barred from participating in Interbike or using the PT name going forward,
PT will lose the vast majority of its projected $1.65 Million in net sales for model
year 2013, will lose 3400,000 in sunk costs already expended for the model year
(and in connection with the Interbike show) and will be unable to service its
approximately $2.4 Million in debt. Provost Decl. jjjj 34, 37-38. The reputational
harm of being barred from Interbike will greatly diminish or eliminate sales through
other channels. Id. In addition, if the company were to become insolvent, its j
founders and investors would lose Some $3 Million that they have already invested
to establish and grow PT. Ia'. at jj 40.

III. NO PRELIMINARY INJUNCTION SHOULD BE ISSUED BECAUSE
PEDEGO CANNOT SHOW LIKELIHOOD OF SUCCESS ON THE
MERITS, IRREPARABLE HARM, OR THAT THE BALANCE OF
THE EOUITIES/PUBLIC INTEREST FAVORS AN INJUNCTION
To obtain the extraordinary remedy of a preliminary injunction, a plaintiff

“must establish that he is likely to succeed on the merits, that he is likely to suffer

irreparable harm in the absence of preliminary relief, that the balance of equities tips

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in his favor, and that an injunction is in the public interest.” Winter v. Natural
Resources Defense Council, Inc., 555 U.S. 7, 20 (2()08). A preliminary injunction is
an "extraordinary remedy never awarded as of right." Ia'. at 24.

A. Pedego Is Highly Unlikelv To Succeed On The Merits

1. Pedego Has Not Demonstrated A Likelihood Of Confusion

The 9th Circuit has developed eight factors, the so-called Sleekcraft factors, to
guide the determination of a likelihood of conHJsion. AMF Inc. v. Sleekcraft Boats,
599 F.2d 341, 348. They include (1) the similarity of the marks; (2) the proximity/
relatedness of the two companies' goods; (3) the marketing channels used; (4) the
strength of Pedego's mark; (5) PT's intent in selecting its mark; (6) evidence of
actual conDJsion; (7) the likelihood of expansion into other markets; and (8) the
degree of care likely to be exercised by purchasers See id. at 348-49. Analysis of

the pertinent factors here weighs heavily in PT's favor and against the imposition of

an in]'unction.
a. The Sight, Sound and "Meaning" of the Two Marks

Differ Signif'lcantly
Pedego gives short shrift to any discussion of similarity between the two

marks, stating in a conclusory fashion that the two names start with "P" and end in
"O." Motion, 3:23-25. That is far from adequate to demonstrate a likelihood of
consumer confusion that justifies the imposition of an injunction (especially one that '
would financially devastatc the Defendant).

The Ninth Circuit has provided the following guidance in assessing similarity
of marks: “first, the marks must be considered in their entirety and as they appear in
the marketplace [citation omitted]; second, similarity is adjudged in terms of
appearance, sound, and meaning [citation omitted]; and third, similarities are
weighed more heavily than differences [citation omitted].” GoTo. Com, Inc. v. T he
Walt Disney C0., 202 F.3d 1199, 1205-06 (9th Cir. 2000).

Pedego claims that PT’s mark is so similar to Pedego's mark that it will cause

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consumers to be confused as to the source of electric bikes and advertising bearing
the marks. The marks are very different, however, consisting of entirely distinct,
commonly used prefixes and suffixes, including "ped" (as in "pedal") and "go"
versus "pro" and "deco" (as in "art deco") or "eco" (as in "ecological"). See
Groupl`on, LLC v. Groupon, Inc., 826 F. Supp.2d 1156, 1163-1164; 2011 WL
5913992 (court denied injunction, finding "GROUPON and "GROUPION" marks
dissimilar as "[b]oth 'groupon' and 'groupion”' are made up words. However, they
were created by different words and, thus, imply different meanings."). The word
"Prodeco" does not incorporate any portion of the word "Pedego." Significantly,
PT's mark is "Prodeco Technologies" and includes the word "technologies," which
is not part of Pedego's markl.

Moreover, as they actually appear in the marketplace, the parties' two logos
are dissimilar. "Prodeco Technologies" is in black letters with a red square next to
the "P." "Pedego" is in a different, distinctive font and the letters are orange in
color. Thus, the actual appearance of the two marks in the marketplace shows

substantial differences as to color, font and position of the text:

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Courts have routinely denied preliminary injunctions in instances involving
far more similar marks, where (as here) those marks were used in logos with
different fonts, colors and textual layouts. See Groupi`on, 826 F. Supp.2d at 1163-
1164 (court denied injunction because "GROUPON and "GROUPION" marks were

 

l PT has used the word "Prodeco" alone as a mark on its produ_cts and advertising
until late 2011. lt is now, however, using_ "_Prodeco Technologies" or "Prodeco
Tech" on its products, website and advertising. Provost Decl. 11 20.

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dissimilar "when viewed in their entirety and as they appear in the marketplace"),
Quia Corp. v. Mattel, Inc., 2010 WL 2486364 (N.D. Cal. June 15, 2010) (court
denied preliminary injunction for mark "iXL" because it appeared differently in the
marketplace than plaintiffs "IXL" mark.); see also, Surjvivor Media, Inc. v. Survivor
Productions, 406 F.3d 625, 633 (9th Cir. 2005) (recognizing importance of logos and
“distinctive” slogans that may accompany a mark in distinguishing between
"Surfvivor" and "Survivor" marks); Fuda’ruckers, Inc. v. Doc's B.R. Others, Inc.,
826 F.2d 837, 846 n. 14 (9th Cir.1987) (“Use of . . . distinctive logos in connection
with similar marks can reduce the likelihood of confusion . . . .”) (internal citations
omitted).

Moreover, the marks at issue in this case are aurally distinct and sound
different when pronounced. Even if they did sound alike (which they do not), the
mere fact that the two marks may sound similar when pronounced or have the same
number of syllables is not determinative See Chesebrough-Pona"s, Inc. v. Faberge,
Inc., 666 F.2d 393 (9th Cir. 1982) (court dismissed plaintiffs claim on summary
judgment that the use of the mark "Match" for men's toiletries and cosmetics
infringed defendant's mark "Macho").

b. The "Pedego" Mark Is In a Crowded Field

Although both "Pedego" and "Prodeco" are coined words that do not have
meaning in the English language, they both nonetheless contain prefixes and
suffixes that are common components of company names in the bicycle and electric
vehicles markets. Provost Decl. 1111 22-23. According to an industry website, there
are 526 electric bike manufacturers worldwide whose company names begin with
"P," including "Pegasus" "Promovec" and "Protanium" and Several similar

businesses with names containing the prefixes or suffixes "ped" "eco," and "goz":

 

2 In fact, Pedego was sued for trademark infringement in 2011 by a company called
"GoPed." Provost Decl. 11 24.

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including:
Electric Peddler www.electricpeddler.com
Eco Wheelz www.eco-wheelz.com

Geco Bike Company www.gecobike.com

Eco Speed www.ecospeed.com

Eco Boomer www.ecoboomer.tv

EZ Pedaler www.ezpedaler.com

Pedaleco www.pedaleco.ueuo.com (bike tour company)

Peg Perego http://us.pegperego.com (electric cart manufacturer)
eGO Vehicles http://www.egovehicles.com

Provost Decl. 1111 22-23.

That the electric bike market has numerous "ped" and "go" marks militates
against a finding that Pedego is a strong mark or that there is a likelihood of
consumer confusion between the Pedego mark and Defendant's mark. Jupiter, 2004
WL 3543299, at *4 ("Where a plaintiffs mark resides in a crowded field, 'hemmed
in on all sides by similar marks on similar goods,' that mark is weak as a matter of
law."); See also, Halo Management, LLC v. Interlana’, Inc., 308 F. Supp.2d 1019,
1036-37 (N.D. Cal. 2003) (denying preliminary injunction as "[d]ozens of
companies utilize some variant of the 'halo' term'".)

Finally, the U.S.P.T.O examining attorney handling PT's trademark
application has stated that, "in [his] opinion, there is no likelihood of confusion"
between the two names. Provost Decl. 11 16.

c. Pedego Presents De Minimis Admissible Evidence of
Actual Confusion

Pedego claims that "Plaintiff Pedego's customers and defendant Prodeco's
customers have admitted their confusion in e-mail, online publications, telephone
calls and advertisements." Motion, 4:25-26. This assertion is far from accurate.
Pedego has attached several exhibits to the Declaration of Don DiCostanZo which

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purport to demonstrate actual consumer confusion. However, this “evidence” of
actual confusion (to the extent it is admissible at all) is extremely weak and, frankly,
misleading when examined closely.

Exhibit “D” purports to be a “phone log” evidencing phone calls to Pedego
“of people seeking information on Prodeco.” DiCostanzo Decl. 11 10. Exhibit “D”
thus consists of lists of phone numbers, some portions of which are highlighted with
no explanation as to who the callers were, what they said or to whom they said it.
See pages 15-16 of 33. The first page of Exhibit “D” is nothing more than a self-
serving description of a call with a supposed consumer in which the Pedego
employee writing the log entry suggests to the caller that he “probably had us
confused with a company with a similar name.” lt is unclear whether
Mr. DiCostanzo or someone else wrote this contrived log entry and whether in fact
it was made contemporaneously within the course of business. Fed. R. of Ev. 902
(11), (12).

Nor is Exhibit “E” any more convincing that actual confusion exists between
the parties’ products. Exhibit “E” consists of one e-mail (page 18 of 33) in which a
consumer asks whether Pedego will “do repairs on” a Prodeco bike. lt is entirely
unclear whether this consumer is confused about the two companies or simply wants
to know whether Pedego will service a Prodeco Technologies bike. The very fact
that this consumer is making the inquiry arguably suggests that he d_oe_s know that
there is a difference between the two companies

The next several e-mails which make up Exhibit “E” purport to be order
forms and inquiries from bike dealers which were misdirected to Pedego when they
Were meant to be sent to PT. These e-mails are not persuasive evidence of actual
customer confusion for several reasons. First, at least two of the e-mails (pg. 19-22
of 33) are from bike dealers and bike store owners. Confusion among such
individuals, who are not consumers, is only relevant in limited circumstances, where
it raises an inference that consumers are likely to be confused Reara'en LLC v.

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Reara’en Commerce, Inc., 683 F.3d 1190, 1214-1215 (9th Cir. 2012). Here, the
e-mails may have been misdirected, i.e., there may simply have been confusion as to
the parties' e-mail addresses (but not with respect to the Source of the parties'
products). Pedego's exhibits thus fail to adequately demonstrate that actual
consumers are likely to be conliased regarding the source of the parties' goods.
Additionally, PT is informed and believes that Pedego pays Google AdWords
to use "Prodeco" as a kevword. Provost Decl. 1111 26-28. Stated another way,
Pedego has had an arrangement with Google whereby if Google users do an internet
search on the word "Prodeco" (seeking Defendant's products), an ad for Pedego
pops up on the user's screen. Ia’. lf the user clicks on Pedego's ad, Pedego pays a
fee to Google. Id. This arrangement between Pedego and Google could easily
explain why e-mails intended for PT may have been misaddressed to Pedego3.
Similarly, Exhibit “F” to Mr. DiCostanZo's Declaration is not evidence of any
actual confusion. Exhibit "F" is merely an article about electric bikes generally that
discusses Pedego and features an interview with Mr. DiCostanZo. Pedego asserts
that the article confuses Pedego and PT because it features a picture of a Prodeco
bike (at pg. 30 of 33) in addition to a picture ofa Pedego bike (at pg. 28 of 33).
Pedego is incorrect that the placement of the PT bike photo in the article means that
the authors of the article were confused. On the contrary, the article is about electric
bikes in general and the authors contacted the Light Electric Vehicle Association
expressly to obtain a picture of any electric bikes. The Light Electric Vehicle

Association provided the authors with a picture of a PT bike. See Provost Decl.,

 

3. Several courts have found that the use of Google AdWords creates, or potentiall
creates, confusion. See Morm'n ar_e, Inc. v. Hearthware Home_ Products, Inc., 6 3
F.Sup .2d 630 (N.D.lll. 2009 _ oldin_g _that _the use of a competitor's trademark in
Goog e's AdWords stated a c aim_ for initial interest c_onfusion); Rescuecom Corp v.
Google, In_c., 562 F.3d 123 (2d Cir. 2009) (Second_Circuit held that the use of a
trademark in Google Ad-Words constitutes a "use ir_i commerce" and remanded the
case to_deteirnine whether the use of the trademark is likely to cause consumer
confusion). Ia’. at 130.

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11 29, Exh. L. There was clearly no confusion here.

Exhibit "G" - which purports to be copies of one or more classified ads - also
fails to demonstrate consumer confusion regarding the parties' bikes. The first ad
(pg. 32 of 33) merely contains what appears to be a typographical error relating to
the parties' names. The second ad (pg. 33 of 33) is clearly not evidence of confusion
either. Rather, the seller states that he rode a PT bike and did not like it, Mt_
buyers will like the Pedego bike that he is selling. See Exhibit "G" ("l rode about 6
different brands before l finally chose this bike ~ it is so comfortable and
ergonomically correct. l was sold on the Prodeco and rode every one of them . . . l
felt sore after just a short ride around the parking lot on every one of their models. l
suggest you ride before buying. Once you take mine for a spin you will be happy to
spend the extra cash, just like l was. . . ."). This ad in no way suggests that the seller
is confused about the source or origin of the bike he is selling.

In contrast to Pedego's continued "evidence" of actual confusion, neither of
PT's employees who handle customer service calls have ever received any inquiries
from any caller regarding Pedego. See Declaration of Robert Lindsay ("Lindsay
Decl.")11 3; Declaration of Patricia Neal ("Neal Decl.")1l 3. Nor has PT CEO
Robert Provost ever been contacted by a consumer or dealer looking to purchase
Pedego bikes, accidentally believing that PT was affiliated with Pedego. Provost
Decl. 11 25.

d. Relatedness of the Goods/Marketing Channels and the
Mree of Care Exercised By Different Types of
Purchasers

Although the parties use similar channels - trade shows, interiiet sales, etc. to
market their bikes, the two companies' bike designs are distinct and each parties'
designs and ads are directed toward different segments of the electric bike
purchasing public. See NetworkAutomation, Inc. v. Advancea' Systems Concepts,
Inc., 638 F.3d 1137, 1150 (9th Cir. 2011) (relatedness of goods is measured by

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whether the products are: (1) complementary; (2) sold to the same class of
purchasers; and (3) similar in~ use and function).

PT's bikes are "mountain bike" style bikes that are marketed primarily to
young (under 50 year-old) consumers. Provost Decl. 11 10. ln fact, PT's 2012
catalog did not feature any models over age 35. Ia’. PT's bikes are entirely built in
the U.S., a major selling point for PT's bikes. Ia’. at 11 8. ln contrast, Pedego's bikes
are "beach cruiser" style and marketed to older riders. See DiCostanZo Decl. 11 12,
Exh. F (pg. 28 of 33); Provost Decl. 11 12. Pedego's bikes are foreign manufactured
Provost Decl. 11 11. The retail prices of each party’s bikes also differ; PT's bikes sell
for an average of $1200 and Pedego's sell for between 81800 and 82700. Ia’. at 11 13.

Moreover, regardless of the price difference between the parties' bikes, M
parties' electric bikes are relatively high priced goods and this militates against a
finding that consumers will be confused by the parties' two marks. When
purchasing expensive items, the buyer is expected to be more discerning and less
easily confused. Brookfiela’ Communications, Inc. v. West Coast Entertainment
Corp., 174 F.3d 1036, 1060 (9th Cir. 1999); see also E. & J. Gallo Winerjy v. Gallo
Cattle Co., 967 F.2d 1280, 1293 (9th Cir. 1992) ("When goods are expensive, it is
assumed that buyers will exercise greater care in their purchases.").

e. Defendant’s Intent In Selecting Mark

PT selected its mark in good faith and with no intent to imitate Pedego's'mark
or trade on the purported goodwill of Pedego. PT's founders created the mark in or
about 2010 as a variant of founder Robert Provost's former company, "Eco Tech"
and as a combination of their last names - "mvost", "Bl Aguila" and “Agsta."
Provost Decl. 11 5.

Pedego's assertions in its Motion that PT's selection of its mark was "willful"
are baseless. Pedego did contact PT to make it aware of its trademark infringement
claim, but it is undisputed that that contact occurred by May 2011, long after PT had

selected its name and used it in connection with electric bikes. DiCostanzo Decl.

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11 5, Provost Decl. 11 15. Nor is there any truth to assertion that Prodeco abandoned
its trademark application "after learning of Pedego." Motion, 6:12-13. Rather,
Prodeco abandoned its application in December 2011 (some ten months after
Pedego first contacted it and seven months after Pedego filed a letter of protest to
PT's trademark application) because of a clerical error. lt re-filed that same day.
Pedego was aware of the re-filing and opposed in April 2012. Provost Decl.

1111 17-19.

Clearly, there is no evidence supporting the notion that PT acted willfully or
in bad faith. See Broolijiela', 174 F.3d at 1059 ("This factor favors the plaintiff
where the alleged infringer adopted his mark with knowledge, actual or
constructive, that it was another's trademark.”).

B. Pedego Has Failed To Show That Irreparable Harm Is Likely

The U.S. Supreme Court's decision in Wi`nter made clear that a plaintiff must
show irreparable harm to be likely, not merely possible or potential4. See eBay v.
MercExchange, L.L.C., 547 U.S. 388, 392-394 (no presumption of irreparable harm
even where there is a showing of infringement); Alliancefor the Wila’ Rockz`es v.
Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011) (emphasis added); Johnson v.
Couturl`er, 572 F.3d 1067, 1081 (9th Cir.2009) (holding that a mere possibility of
irreparable injury is “too lenient”). ln this case, even if there were a likelihood of
confusion (which there is not), the clear lack of irreparable harm undermines any

claim that a preliminary injunction should issue.

 

4 Pede o cites to Me_tl_ro Pub. i_). San Jose Mercary Nev_vs, 987 F.2d 637, 640 (9th Cir.
199_3)_ or the roposition that_ irreparable harm is_ "ordinarily presumed" where

laintiff has emonstrated a likeli ood of confusion. However, more recent case
aw has "cast doubt on that p)resum tion." See Seea' Services, Inc. v. Winsor Grai'n,
Inc., 2012 WL 1232320 E. . Cal. ; see qllso_, Flexl`ble Ll`fell`ne Systems, Inc. v.
Precl`s_l`oii Li_ft, Inc:, 654 .3d _989_, 94 (9_ Cir. 2011)_(presum tion of irreparable
harm in issuing injunctive relief in copyright context is "dead' .

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PRODECO TECHNOLOGIES’ OPPOSlTlON TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

 

 

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l. There Can Be No Showing Of Irreparable Harm Where
Pedego Delayed At Least One Year In Seeking An
Iniunction.

Where there is delay in seeking a preliminary injunction, courts find that there
is no irreparable harm and no need for the requested relief. Kerr Corp. v. North
Amerl`can Dental Wholesalers, Inc., 2011 WL 2269991, at *3 (C.D. Cal. June 9,
2011) (denying preliminary injunction where plaintiff waited eight months after
learning of infringement to seek relief); Givemepower Corp. v. Pace Compumetrics,
Inc., 2007 WL 951350, at *7 (S.D. Cal. Mar. 23, 2007) (holding delay of seven
weeks negated showing of irreparable harm); Oaklana’ Tribune, Inc. v. Chrom`cle
Pub. Co., 762 F.2d 1374, 1377 (9th Cir.1985) (affirming denial~of preliminary
injunction based on delay alone, without assessing the likelihood of success on the
merits); First Franklin Financial Corp. v. Franklin First Financial, Ltd., 356
F.Supp.2d 1048, 1055 (N.D.Cal. 2005) (denying motion for preliminary injunction
and stating “plaintiffs . . . delay in enforcing its intellectual-property rights
undercuts its claims of urgency and irreparable harrn”).

Here, it is undisputed that Pedego was aware that PT was using the Prodeco
mark on bikes by May 23, 2011, when Pedego filed a Letter of Protest regarding
PT's trademark application. DiCostanzo Decl. 1111 3-4. Pedego had actually first
contacted PT regarding its use of the mark "Prodeco" in February 2011. Provost
Decl. 11 15. Pedego and PT attempted to negotiate a resolution of Pedego's claims
during the spring and summer of 201 1. Ia'. at 11 20. Pedego was also aware that
Prodeco attended the September 2011 Interbike show and sold bikes bearing its
mark at that show. DiCostanZo Decl. 11 3. ln fact, at the September 2011 Interbike
show, Pedego and Prodeco had booths that were nearby and visible to one another at
the venue. Provost Decl. 11 31. Yet, Pedego waited over a year, until the eve of the
next Interbike show to file the instant motion.

Not only was Pedego aware for over a year that PT was selling bikes and

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PRODECO TECHNOLOGIES’ OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

 

 

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appearing at trade shows, Pedego filed suit on July 6, 2012, but still did not move
for an injunction until two months later - filing this Motion on September 4, 2012.
This additional delay between the filing of its suit and seeking an injunction further
negates any finding of irreparable harm to Pedego. See Innospan Corp. v. Intuit,
Inc., 2010 WL 5157157, at *2 (N.D. Cal. Dec. 3, 2010) (denying preliminary
injunction and noting plaintiff delayed seeking relief for one month after filing
complaint).

ln its Motion, Pedego is disingenuous in trying to explain its delay. First, it
claims that it believed PT had abandoned its mark as of December 2011. See
DiCostanZo Decl. 11 6. This is demonstrably false. PT originally filed its trademark
application in February 2011, but made a clerical error and abandoned that
application in December 20115. However, Prodeco revived the application on the
same day it was abandoned in December 2011. Pedego opposed the revived
application in April 2012. Provost Decl. 1111 17-19. As such, Mr. DiCostanZo's
assertion in his Declaration that he "believed" in December 2011 that "Prodeco
Technologies intended to cease its attempt to register Prodeco and move to another
trademar " is highly suspect. DiCostanzo Decl. 11 6; Provost Decl. 11 19.

Second, Pedego claims that it only recently - purportedly in July 2012 _
became aware that PT would appear at Interbike as an exhibitor (despite PT's
appearance at two previous shows also attended by Pedego - including last year in a
nearby booth) and only became aware, in late August 2012, that PT would act as a
sponsor at lnterbike. DiCostanZo Decl. 1114. But Pedego's knowledge that PT was
going to appear at Interbike or be a sponsor is irrelevant to this analysis; M

matters it when Pedego had actual or constructive knowledge of PT's use of the

 

5 Pedego asserts that PT abandoned its trademark application "after learning of
Pedego." Motion, 6:12-13. This is inaccurate. PT was made aware of Pedego's
infringement claim as early as February 201_1, but abandoned its trademark
application in December 2011, due to a clerical error. Provost Decl. 1111 15, 17-19.

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PRODECO TECHNOLOGIES’ OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

 

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allegedly infringing mark. Pharmacia Corp. v. Alcon Laboratories, Inc., 201 F.

 

Supp. 2d 335, 382 (D.N.J. 2002) (denying preliminary injunction; “[a]ctual or
constructive notice [of the use of a mark] is the governing standard for measuring
delay in moving for preliminary injunctive relief.”).
2. Pedego Provides No Evidence Of Irreparable Harm
Pedego's Motion is also fatally flawed in that Pedego fails to present any
evidence of irreparable harm, i.e., that it has lost sales or suffered damage to its

reputation because of purported confusion between the parties' two marks.

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Courts have routinely found no irreparable harm (and denied requests for the

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issuance of injunctions) where a plaintiff fails to offer evidence that its sales have

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declined (or that it has suffered other comparable economic damage) as a result of

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alleged infringement Roa'an & Fields, LLC v. Estee Laua’er Companies, Inc. , 2010
WL 3910178, at *6 (N.D. Cal. Oct. 5, 2010) ("allegations of potential harm, without

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any supporting evidence in the record, are insufficient" to support a finding of

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irreparable harm); Jupiter Hosting, Inc. v. Jupilermea’ia Corp., 2004 WL 3543299,

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at *6 (N.D. Cal. Nov. 9, 2004) (no irreparable harm where no evidence of declining

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revenues).

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Here, Pedego asserts that actual confusion has occurred and will allegedly

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continue, but makes no claim (other than in the most conclusory terms) of lost sales

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or any damage to its reputation flowing from the supposed confusion. See Motion at

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6:5-6 (Prodeco's appearance at Interbike "is likely to cause substantial and

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irreparable harm to Pedego and consumers"). Such generalities do not suffice to

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demonstrate irreparable harm. See American Passage Mea'ia Corp. v. Cass

Communications, Inc., 750 F.2d 1470, 1473 (9th Cir. 1985) (reversing preliminary

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injunction for lack of irreparable harm because “affidavits from its own executives

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. . . are conclusory and without sufficient support in facts.”).

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Moreover, in his Declaration, Mr. DiCostanZo states only that "l believe that

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Prodeco's attendance and use of the PRODECO mark will cause a significant

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increase in actual confusion between [the marks]." This unsupported statement, too,
is insufficient Merely claiming ~ or even demonstrating -the existence of
confusion does not justify imposition of an injunction if there is no showing that
economic or intangible harm will result from that purported confusion. See Sara'i's
Restaurant Corp. v. Sara'ie, 755 F.2d 719 (9th Cir. 1985) (court affirmed denial of a
preliminary injunction Where there was no evidence presented at hearing that
plaintiffs reputation would be harmed M_if public confusion regarding the parties
did occur.).

Finally, Pedego neither attempts to nor makes any showing that money
damages would be inadequate here. Any lost sales or business opportunities
(assuming they exist in this case) do not necessarily constitute an irreparable harm,
because they would still be measurable damages that would be compensable with
money. See Aurora Worla’, Inc. v. Ty Inc., 719 F.Supp.2d 1115, 1169 (C.D. Cal.
2009) (quoting Reebok Intern. Lta’. v. J. Baker, Inc., 32 F.3d 1552, 1558
(Fed.Cir.1994)).

C. A Balancing of the Hardships/Equities Greatly Favors Defendant

Prodeco Technologies

A balancing of hardships analysis requires courts to analyze the “competing
claims of injury and . . . [to] consider the effect on each party of the granting or
withholding of the requested relief.” Flexible Lifelz`ne Systems, Inc. v. Preci'sl'on
Lift, Inc., 654 F.3d 989, 997 (9m'Cir. 2011), quoting Winter, 555 U.S. at 14.

Economic harm in the form of lost profits, lost revenues, lost product
investments, and expenses that will be incurred is examined and a balancing of the
equities between the Plaintiff and Defendant analyzed Ea'ge Games, Inc. v.
Electronl`c Arts, Inc., 745 F.Supp.2d 1101, 1118 (N.D.Cal. 2010); Patriot Contract
Servl`ces v. U.S., 388 F.Supp.2d 1010, 1026 (N.D.Cal. 2005). ln addition, intangible
loses such as loss of business goodwill and reputation, and loss of business
opportunities are also considered Aa'vancea' Rotorcraft Technology, Inc. v. L-3

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PRODECO TECHNOLOGIES’ OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

 

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Communications Corp., 2007 WL 437682, at *9 (N.D.Cal., Feb. 6, 2007).

1. Pedego's Delay Suggests that the Balance of the Hardships

Strongly Favors PT
First, as discussed above, plaintiffs lengthy delay in bringing its Motion

seeking a preliminary injunction is an equitable factor which weighs against it in
analyzing the balance of hardships. First Frankll'n Financl`al Corp., 356 F.Supp.2d
at 1055. Pedego knew about Prodeco's use of its mark on electric bikes since a_t
M early 2011 and yet did not seek a preliminary injunction until September 2012,
well over one year later. Provost Decl. 11 15. ln addition, the parties both appeared
at the lnterbike trade show in 2011 (with nearby booths, visible to one another). Ia’.
at 11 31. Pedego, however, waited until a few weeks before the 2012 Interbike Show
(after PT had spent tens of thousands of dollars in sunk costs to attend and sponsor
Interbike) to claim that it will be irreparably harmed by PT's presence at this year's
show. Ia'. at 11 34. This chronology weighs heavily in favor of PT and against the
imposition of an injunction.
2. PT Will Not Remain Financially Viable If It Cannot
Participate in the Interbike Tradeshow and Continue to Use
the "Prodeco Technologies" Name
vPT has spent or will spend over $90,000 in direct costs to participate in
lnterbike. Provost Decl. 11 34. lf Prodeco is unable to participate in lnterbike,
however, its losses would go far beyond the $90,000 that it is expending to prepare
for and sponsor the show. PT would be unable to remain financially solvent if
barred from lnterbike. Ia'. 11 39.
Based on internal data, PT projects that it will have a net profit of at least

$1.65 Million from its 2013 line of bikes. Ia'. at 11 37. At least 70% of these profits
will be directly generated by orders placed at lnterbike. Ia’. Additionally, if barred
from lnterbike, PT would have difficulty getting the remaining 30% of its projected
model year 2013 orders because of reputational damage and lost credibility in the

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PRODECO TECHNOLOGIES’ OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMlNARY INJUNCTION

 

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marketplace Ia'. Dealers and customers look to product warranties to protect
themselves should electric bikes malfunction after purchase and are fearful of
placing orders with companies that they believe may have financial or legal
problems which would jeopardize warranty programs or the ability of the bike
company to complete iiiture repairs. Ia’.

ln addition to lost profits, if unable to attend lnterbike, PT would lose nearly
$300,000 in deposits that it has already paid to suppliers. Ia’. at 11 38. Without the
influx of cash frorn orders at lnterbike, PT would be unable to pay the remaining
amounts owed to the suppliers and would lose those deposits in their entirety. Ia’.
Moreover, PT would be unable to pay down its outstanding $2.4 Million credit line
and loans. Ia’.

Moreover, if PT were unable to use the Prodeco Technologies name beyond
the Interbike tradeshow, the economic damage to the company would also be fatal.
Provost Decl. 11 40. PT has already ordered some 5,000 bike frames with the name
"Prodeco Technologies" on them. Ia’. These aluminum frames cannot be changed
without the frames being damaged Ia’. The costs already paid for these frames
would simply have to be written off by PT. Ia'. at 11 40. There would be additional,
large costs associated with changing the name on the company's website and other
advertising materials. Ia’. ln addition, as discussed above, PT would not receive its
projected bike orders for the 2013 model year and would not be able to pay down its
debt. Ia'. at 1111 38-38. PT would also suffer tremendous reputational harm in that it
would have to delay or cancel pending orders, inform dealers and customers that it
was operating under a different name and also that they would have to accept (if any
orders could in fact be filled) bikes with different model names. Ia'. at 11 40.

D. A Preliminary Iniunction Would Not Serve the Public Interest

An injunction will not be issued if it does not serve the public interest. See
Winter, 555 U.S. at 20. Courts routinely find that, where there is a lack of consumer

confusion in trademark cases, a preliminary injunction will not serve the public

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PRODECO TECHNOLOGIES’ OPPOSlTlON TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

 

 

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interest because such an injunction would only result in depriving consumers of a
choice of products and inhibiting competition. International Jensen, Inc. v.
Metrosouna’ U.S.A., Inc., 4 F.3d 819, 827 (9th Cir. 1993); Illinois Tool, Inc. v. Grip-
Pak, Inc., 906 F.2d 679, 684 (Fed.Cir.1990) (finding that the public interest in the
“continuing right to compete, Which must be seen as legitimate . . . ,” disfavors
preliminary injunction when there is only a small likelihood of success in proving
infringement at trial).

Here, because the likelihood of consumer confusion has not been
demonstrated, the public interest favors denying Pedego's request for an injunction
to prevent unnecessary restraints on competition.

IV. A BOND IN THE AMOUNT OF $ 5 MILLION SHOULD BE
REOUIRED TO BE POSTED BY PEDEGO IN THE EVENT THIS
MOTION IS GRANTED
Federal Rule of Civil Procedure 65(c) requires the posting of a bond by a

party obtaining a preliminary injunction: "[t]he court may issue a preliminary

injunction . . . M the movant gives security in an amount that the court
considers proper to pay the costs and damages sustained by any party found to have
been wrongfully enjoined or restrained." F.R.C.P. 65(c) (emphasis added). AM
is required regardless of the merits of the plaintiffs case. As such, even in the
unlikely event that the Court issues an injunction here, a bond must be posted

Pursuant to F.R.C.P. 65(c), the amount of the bond is within the Court's
discretion, but is generally “[t]he amount . . . sufficient to cover loses and damages
incurred or suffered by the party enjoined if it turns out that the injunction should
not have been granted.” Fora' Motor Co. v. Ultra Coachbuila’ers Inc., 2000 WL
33256536, at *10 (C.D.Cal., July 11, 2000), citing DEP Corp. v. Opti-Ray, Inc., 768
F.Supp. 710, 718 (C.D.Cal. 1991).

Accordingly, a bond should be required to cover all of PT's potential losses,
even if those losses are in the millions of dollars (which they would be). Lewis

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Galoob Toys v. Nintena’o ofAmerica, Inc., 1991 WL 1164068, *4 (N.D.Cal., Mar.
27, 1991) (requiring moving party to post a $15 million bond); A&MRecora’s, Inc.
v. Napster, Inc., 239 F.3d 1004, 1028 (9th Cir. 2001) (requiring a $5 million bond);
T he Research Founa’ation of State University of New York v. Mylan, 723 F.Supp.2d
63 8, 664 (D.Del. 2010) (requiring a $26 million bond); International Equity
Investments, Inc. v. Opportunity Equity, 2006 WL l 116437, *5 (S.D.N.Y., Apr. 26,
2006) (approving a $5 million bond); Stertz v. GulfOil Corp., 1984 WL 2114
(E.D.N.Y., June 14, 1984) (requiring $42.4 million bond).

Realistically, PT's losses should an injunction be issued would be in the range
of at least $5,000,000 and, if the Court does grant the requested injunction, a bond in
that amount should be ordered posted. Provost Decl. 1111 37-41. The concrete and
quantifiable damage to PT far outweighs any alleged harm that Pedego will suffer
due to the purported confusion caused by PT's presence at the Interbike trade show
or PT's continued use of the "Prodeco Technologies" name while this case is
pending.

V. CONCLUSION
For the above reasons, Prodeco Technologies respectfully requests that the

Court deny Pedego's Motion for Preliminary lnjunction.

DATED: September 10, 2012 KINSELLA WEITZMAN lSER KUMP &
ALDISERT LLP

By: /s/ Jennifer J. McGrath
Jennifer J.McGrath
Attomey for Defendant PT

 

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CERTIFICATE OF SERVICE

1 hereby certify the following: I am over the age of 18 years and am not a
party to the above-captioned action. 1 am a registered user of the CM/ECF system
for the United States District Court for the Southern District of California.

On September 10, 2012, I electronically filed the foregoing document with
the Clerk of the Court using the CM/ECF system. To the best of my knowledge, all
counsel to be served in this action is registered CM/ECF users and will be served by
the CM/ECF system.

I declare under penalties of perjury under the laws of the United States that

the foregoing is true and correct.

DATED: September 10, 2012 KINSELLA WEITZMAN ISER KUMP &
ALDISERT LLP

By: /s/ Jennifer J. McGrath
Jennifer J. McGrath
Attorney for Defendant PT

 

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